Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 1 of 9 PageID# 25220



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,

                        Plaintiffs,
                                                  Case No. 1:14-cv-01611-LO-JFA
                 v.

  COX COMMUNICATIONS, INC., et al.,

                        Defendants.

   DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION IN
        LIMINE TO PRECLUDE PLAINTIFF’S COUNSEL FROM MAKING
     ARGUMENTATIVE AND INFLAMMATORY STATEMENTS AND LEGAL
              CONCLUSIONS DURING OPENING STATEMENTS

                                       INTRODUCTION

        Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”)

 respectfully submit this Memorandum of Law in Support of their Motion in Limine to Preclude

 Plaintiff’s Counsel From Making Argumentative and Inflammatory Statements and Legal

 Conclusions During Opening Statements.

        The Fourth Circuit has held that “the very purpose of an opening statement is to inform the

 jury how the case developed, its background and what will be attempted to be proved.” United

 States v. Locust, 95 F. App’x 507, 514 (4th Cir. 2004) (quoting Butler v. United States, 191 F.2d

 433, 435 (4th Cir. 1951)). However, “the risk of unfair prejudice is more distinct in opening

 statements” because improper statements “may have a stronger effect on the jury’s evaluation of

 the evidence and arguments of counsel if made before evidence is presented.”             Pegg v.

 Herrnberger, No. 5:13CV173, 2016 WL 7033171, at *1 (N.D.W. Va. Dec. 1, 2016).

        During the first trial, BMG Rights Management (US) LLC’s (“BMG”) counsel repeatedly

 claimed during his opening statement that Cox had engaged in “stealing,” “illegal conduct,”
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 2 of 9 PageID# 25221



 “unlawful conduct,” and “illegal infringement,” and that Cox “aided and abetted” this behavior.

 Moreover, BMG’s counsel often delved into pure argument, untethered from any admissible

 evidence, to paint pictures for the jury that were not only prejudicial but confusing and oftentimes

 erroneous, including, for example:

        •    The argument that terminated pursuant to the DMCA is “shorthand for copyright

            infringement”;

        •   BMG’s counsel’s personal view of the evidence, such as “[t]his is an example of a

            customer that I consider to be a habitual abuser”;

        •   BMG’s counsel’s prejudicial view that Cox’s statement to BMG that it sent too many

            notices was the equivalent of asking a parent to neglect his or her child;

        •   BMG’s counsel prejudicial aside that he found “it interesting that [PirateBay] would

            use the symbol pirate with the skull and crossbones, and I would like to point out to

            you that the two people that [sic] founded it were criminally convicted four or five

            years ago outside the United States”;

        •   BMG’s counsel’s personal opinion of Cox’s purported profit motive: “[t]he profit

            motive for not doing what was right was the reason Cox violated its own policy by

            continuing to tolerate what it knew was illegal conduct going on by its subscribers on

            its network”; and

        •    Extensive recitations of the law, from the determinations of liability, to the calculations

            of damages, and other issues, which is always prejudicial but particularly so when the

            recitations are simply erroneous.

        Cox requests that the Court preclude BMG’s counsel from making purely argumentative

 statements, like those outlined above, which prejudice Cox and risk confusing the jury. Cox also



                                                  -2-
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 3 of 9 PageID# 25222



 requests an Order that requires BMG’s counsel to refer to the alleged conduct as an “alleged

 violation of the Copyright laws,” “alleged infringement of BMG’s Copyright rights,” or something

 similar—not “stealing,” “illegal conduct,” “unlawful conduct,” or “illegal infringement.”


                                            ARGUMENT

 I.     COX SEEKS AN ORDER PRECLUDING BMG’S COUNSEL FROM USING
        INFLAMMATORY AND DEROGATORY STATEMENTS DURING OPENING
        STATEMENTS

        During the first trial, BMG’s counsel repeatedly indicted Cox with inflammatory

 statements such that it “aided and abetted,” Trial Tr. at 107:16, and was engaged in “stealing,”

 “illegal conduct,” “unlawful conduct,” “illegal infringement,” and other various permutations of

 those terms. See, e.g., id. at 99, 100, 102-107, 109-111, 125, 128.

        Following the parties’ opening statements, the Court acknowledged that the use of the word

 “stealing” by counsel for BMG was inappropriate. See id. 157:1-2 (“You referenced how they

 were stealing everything in sight ….”). The Court added that it was important for the parties to

 “stay within the orders that we have issued.” Id. at 157:6. Prior to the first trial, Cox did not have

 a basis to believe that BMG’s counsel would use these inflammatory terms, so it then had no need

 to seek an in limine ruling precluding that behavior. Based on the existing record, however, Cox

 now has reason to believe that BMG’s counsel will indeed engage in the same improper practice

 and thus seeks a preemptive order restricting BMG’s counsel from doing so.

        As the Court previously observed, these comments should be precluded because they are

 inflammatory. Moreover, because no evidence of the conduct at issue will have been admitted at

 the time of opening statements, it would be improper for BMG’s counsel to make claims that Cox

 “aided and abetted” any “illegal conduct.” C.f. Tunnell v. Ford Motor Co., No. 4:03-CV-00074,

 2005 WL 3776353, at *2 (W.D. Va. Apr. 18, 2005) (denying a motion in limine to preclude counsel



                                                  -3-
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 4 of 9 PageID# 25223



 from using inflammatory terms during opening argument, as a preventative motion was not

 warranted based on the record, but noting that any inflammatory characterizations during opening

 arguments would be prohibited due to a lack of an evidentiary basis). Cox therefore requests the

 Court Order BMG’s counsel to refer to the alleged conduct as an “alleged violation of the

 Copyright laws,” “alleged infringement of BMG’s Copyright rights,” or something similar.

 II.    COX REQUESTS THE COURT TO PRECLUDE BMG’S COUNSEL FROM
        ENGAGING IN PURE ARGUMENT, BOTH LEGAL AND FACTUAL, DURING
        OPENING STATEMENTS

        A.      BMG’s counsel should be precluded from arguing the law.

        BMG’s counsel also engaged in a lengthy explanation of his view of the Copyright Act and

 the law more generally, which is improper and should also be precluded on re-trial. See, e.g.,

 Newman ex rel. Newman v. McNeil Consumer Healthcare, No. 10 C 1541, 2013 WL 4460011, at

 *6 (N.D. Ill. Mar. 29, 2013) (noting that it is improper for either party to argue the applicable law

 to the jury during opening argument); United States v. Reulet, No. 14-40005-DDC, 2016 WL

 126355, at *7 (D. Kan. Jan. 11, 2016), on reconsideration in part, No. 14-40005-DDC, 2016 WL

 191883 (D. Kan. Jan. 14, 2016) (noting the black letter law that legal argument is impermissible

 during opening statement); Icon Enterprises Int’l, Inc. v. Am. Prods. Co., No. CV 04-1240 SVW

 PLAX, 2004 WL 5644805, at *10 (C.D. Cal. Oct. 7, 2004) (preluding “used in commerce” from

 an opening statement because it is “a legal argument that has no place in an opening statement.”).

        For example, counsel opined:

                Under law, once it has been established that infringement of
                BMG’s songs have taken place on the Cox network, even if Cox
                itself wasn’t the one doing it, under the law Cox will be liable for
                damages if BMG can show that Cox was either contributorily –
                guilty of contributory infringement or is liable for vicarious
                infringement. And I am going to walk through those to explain
                why it is that under the law Cox is liable for the activities, the
                repeat activities of its subscribers.



                                                 -4-
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 5 of 9 PageID# 25224



                   The evidence we believe will clearly establish that Cox is liable for
                   both, both contributory infringement and vicarious infringement.

 Trial Tr. at 104:17-105:3. And BMG’s counsel did not stop there. He also stated:

                   [T]he reason they would have to do it is because there is a federal
                   statute that says that if they actually have a reasonable policy for
                   terminating repeat infringers, they have a safe harbor, they’re
                   immune from liability.

                   Well, that is not an issue in this case. Cox is not immune from
                   liability because it did not engage in what was required in order to
                   have that safe harbor protection. If it had, we wouldn’t be here
                   today.

 Trial Tr. at 131:8-20; see also id. 132:19-133:1 ([T]he law makes it clear if you are guilty of

 contributory infringement or vicarious infringement, you are liable to the same extent as the people

 that are actually doing the illegal copying….Cox is guilty of both contributory infringement and

 vicarious infringement.”). BMG’s counsel addressed other legal issues as well. See id. at 107

 (willful blindness and material contribution); id. at 122, 133-134 (statutory penalties); id. at 133

 (willful infringement). BMG’s also discussed vicarious liability, id. at 105, 108, which should be

 precluded from re-trial for the independent reason that it is no longer relevant. Statements such as

 these are plainly improper and should be precluded from BMG’s counsel’s opening statement at

 re-trial.

             B.    BMG’s counsel should be precluded from making improper, inflammatory,
                   and argumentative statements.

             Separate from the improper legal rhetoric outlined above, BMG’s counsel’s opening

 statement was often more like a closing argument and delved into the purely argumentative.

 Counsel additionally improperly offered his own personal opinion of BMG’s case and the

 purported evidence in support thereof. Such statement, as outlined below, should be precluded on

 retrial, as courts in this Circuit consider “the risk of unfair prejudice is more distinct in opening

 statements” because improper statements “may have a stronger effect on the jury’s evaluation of


                                                    -5-
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 6 of 9 PageID# 25225



 the evidence and arguments of counsel if made before evidence is presented.” Pegg, 2016 WL

 7033171, at *1 (ruling that inflammatory statements are not permissible in opening statements but

 deferring ruling on motion in limine until opening statements are given); Tunnell, No. 4:03-CV-

 00074, 2005 WL 3776353, at *2 (similar).           Indeed, courts should preclude from opening

 statements “those arguments that are always improper, including vouching, bolstering, misstating

 the evidence, inciting the passions of the jury, advancing racial stereotypes or prejudices, and

 making legal arguments during opening statements.” See, e.g., United States v. Lyons, No. CR 17-

 1630 RB, 2017 WL 4736724, at *2 (D.N.M. Oct. 18, 2017).

        For example, BMG’s counsel interjected his personal view of the evidence, including:

 “[t]his is an example of a customer that I consider to be a habitual abuser.” Trial Tr. at 128:11-12.

 BMG’s counsel also gave his opinion on Cox’s profit motive, arguing “[t]he profit motive for not

 doing what was right was the reason Cox violated its own policy by continuing to tolerate what it

 knew was illegal conduct going on by its subscribers on its network.” Id. at 129:23-130:1.

        Separately, BMG’s counsel made the confused, and legally and factually infirm, argument

 that terminated pursuant to the DMCA is “shorthand for copyright infringement.” Trial Tr. at

 124:12-14. He also claimed to the jury that Cox’s statement to BMG that it sent too many notices

 was the equivalent of asking a parent to neglect his or her child. Id. at 105-106. Putting aside the

 inappropriateness of this analogy, it is factually inaccurate and not based on any evidence.

 Additionally, in an attempt to explain BMG’s decision to utilize Rightscorp, BGM’s counsel

 argued that BMG had limited resources and it could not sue thousands of infringers. Id. at 110.

 But this statement too is factually inaccurate and not based on any evidence.

        BMG’s counsel further made the bizarre, and inappropriate aside, that he found “it

 interesting that [PirateBay] would use the symbol pirate with the skull and crossbones, and I would




                                                 -6-
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 7 of 9 PageID# 25226



 like to point out to you that the two people that [sic] founded it were criminally convicted four or

 five years ago outside the United States.” Trial Tr. at 113:14-18.

         The foregoing is a selection of the types of comments riddled throughout BMG’s counsel’s

 opening statement. They are plainly inappropriate, prejudicial to Cox, and likely to confuse the

 jury. Statements of this type should be excluded on retrial.


                                          CONCLUSION

         Based on the foregoing, Cox respectfully requests an in limine ruling requiring BMG’s

 counsel to comply with blackletter law with respect to what is and is not appropriate behavior in

 open arguments and other colloquies before the jury. Cox requests a ruling that requires BMG’s

 counsel to refer to the alleged conduct as an “alleged violation of the Copyright laws,” “alleged

 infringement of BMG’s Copyright rights,” or something similar—not stealing, theft, or any other

 related term. Cox also requests that the Court preclude BMG’s counsel from making purely

 argumentative statements, including legal arguments, that prejudice Cox and risk confusing the

 jury.


 Dated: July 20, 2018                                  Respectfully submitted,

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                                                 -7-
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 8 of 9 PageID# 25227



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                                         -8-
Case 1:14-cv-01611-LO-JFA Document 941 Filed 07/20/18 Page 9 of 9 PageID# 25228



                                CERTIFICATE OF SERVICE

        I certify that on July 20, 2018, a copy of the foregoing Defendants’ Memorandum of Law

 in Support of Their Motion in Limine to Preclude Plaintiff’s Counsel from Making Argumentative

 and Inflammatory Statements and Legal Conclusions During Opening Statements was filed

 electronically with the Clerk of Court using the ECF system which will send notifications to ECF

 participants.

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                                               -9-
